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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

SAIFULLAH KHAN,                           :
     Plaintiff,                           :
                                          :
v.                                        :      CIVIL NO. 3:19-CV-01966 (KAD)
                                          :
YALE UNIVERSITY, et. al.                  :
     Defendants.                          :      January 14, 2021


                                  NOTICE OF APPEAL
       The Plaintiff, Saifullah Khan, hereby gives notice that he appeals the January 7,

2021 decision of the Court granting Jane Doe’s motion to dismiss his claims against her.

                                                 The Plaintiff

                                                 BY:
                                                 /s/ Norman A. Pattis /s/
                                                 NORMAN A. PATTIS
                                                 Pattis & Smith, LLC
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                                    CERTIFICATION
       I hereby certify that on January 14, 2021, a copy of the foregoing was filed

electronically. Notice of this filing was sent by e-mail to all parties by operation of the

Court’s electronic filing system. Parties may access this filing through the Court’s system.

                                                 BY:
                                                 /s/ Norman A. Pattis /s/
                                                 NORMAN A. PATTIS
